                     Case 2:07-cr-20168-JWL                                   Document 22                      Filed 12/13/07                     Page 1 of 3


AO 472 (Rev. 3/86) Order of Detention Pending Trial


                                                      United States District Court
                                                                           DISTRICT OF KANSAS

             UNITED STATES OF AMERICA
                       v.                                                                      ORDER OF DETENTION PENDING TRIAL

                       MONTERIAL WESLEY                                                        Case Number:             07-M-8133-02-DJW
                                         Defendant

     In accordance with the Bail Reform Act, 18 U.S.C. § 3142(f), a detention hearing has been held. I conclude that the following facts
require the detention of the defendant pending trial in this case.
                                                           Part I - Findings of Fact
9 (1) The defendant is charged with an offense described in 18 U.S.C. § 3142(f)(1) and has been convicted of a (federal offense) (state
      or local offense that would have been a federal offense if a circumstance giving rise to federal jurisdiction had existed) that is
      9 a crime of violence as defined in 18 U.S.C. § 3156(a)(4).
      9 an offense for which the maximum sentence is life imprisonment or death.
      9 an offense for which a maximum term of imprisonment of ten years or more is prescribed in

             9 a felony that was committed after the defendant had been convicted of two or more prior federal offenses described in 18
                    U.S.C. § 3142(f) (1)(A)-(C), or comparable state or local offenses.
9 (2) The offense described in finding (1) was committed while the defendant was on release pending trial for a federal, state or local
      offense.
9 (3) A period of not more than five years has elapsed since the (date of conviction) (release of the defendant from imprisonment) for
      the offense described in finding (1).
9 (4) Findings Nos. (1), (2) and (3) establish a rebuttable presumption that no condition or combination of conditions will reasonably
             assure the safety of (an)other person(s) and the community. I further find that the defendant has not rebutted this presumption.
                                                             Alternative Findings (A)
9 (1) There is probable cause to believe that the defendant has committed an offense
      9 for which a maximum term of imprisonment of ten years or more is prescribed in ________________________________
      9 under 18 U.S.C. § 924(c).
9 (2) The defendant has not rebutted the presumption established by finding 1 that no condition or combination of conditions will
             reasonably assure the appearance of the defendant as required and the safety of the community.
                                                           Alternative Findings (B)
: (1) There is a serious risk that the defendant will not appear.
: (2) There is a serious risk that the defendant will endanger the safety of another person or the community.



                                          Part II - Written Statement of Reasons for Detention
    I find that the credible testimony and information submitted at the hearing establishes by (clear and convincing evidence) (a
preponderance of the evidence) that

                                                                                     (See attached page)

                                                   Part III - Directions Regarding Detention
      The defendant is committed to the custody of the Attorney General or his designated representative for confinement in a corrections
facility separate, to the extent practicable, from persons awaiting or serving sentences or being held in custody pending appeal. The
defendant shall be afforded a reasonable opportunity for private consultation with defense counsel. On order of a court of the United
States or on request of an attorney for the Government, the person in charge of the corrections facility shall deliver the defendant to the
United States marshal for the purpose of an appearance in connection with a court proceeding.

Dated: December 12, 2007                                                                       s/ David J. Waxse
                                                                                                             Signature of Judicial Officer

                                                                                               DAVID J. WAXSE, U.S. MAGISTRATE JUDGE
                                                                                                             Name and Title of Judicial Officer

*Insert as applicable: (a) Controlled Substances Act (21 U.S.C. § 801 et seq.); (b) Controlled Substances Import and Export Act (21 U.S.C. § 951 et seq.); or (c) Section 1 of Act of Sept. 15,
1980 (21 U.S.C. § 955a).
            Case 2:07-cr-20168-JWL           Document 22        Filed 12/13/07       Page 2 of 3



U.S.A. v. Thomas Humphrey
Criminal Action 07-M-8133-01-DJW

                    Part II - Written Statement of Reasons for Detention
    There are a series of factors we have to look at to determine whether there are conditions of release that

will reasonably assure the appearance of the person and the safety of the person and the community.

    The first factor is the nature and circumstances of the offense charged, including whether the offense

is a crime of violence or involves a controlled substance. The courts have determined that using a firearm

during or in relation to a drug trafficking crime is a crime of violence and obviously the other charge is a

controlled substance, so those are both negative.

    The next factor is the weight of the evidence. There has been a probable cause determination based on

the affidavit, so that is a negative.

    The next factor is the history and characteristics of the person, including your physical and mental

condition. There is nothing about your physical or mental condition that would be a problem.

    Family ties are not a problem.

    Employment is not a problem.

    Financial resources are a problem because the factor we are supposed to look at is whether or not there

are financial resources that would make it easy for a person to flee. Clearly you have substantial financial

resources, so that is a negative.

    The next factor is length of residence in the community and community ties, which are both positive.

    The next factor is your past conduct, which includes history relating to drug or alcohol abuse, criminal

history and record concerning appearance at court proceedings. There are no felony convictions, however

there are three pages of contacts with law enforcement, many of which are guilty pleas of minor offenses,

which is not good in terms of determining whether you are going to comply with conditions of release.

    The next factor is whether at the time of the current offense or arrest the person was on probation,

parole, or other release. There are certainly situations where it appears you failed to appear, but there is no

                                                      2
           Case 2:07-cr-20168-JWL         Document 22        Filed 12/13/07     Page 3 of 3



parole or probation, so those are somewhat negative.

   Finally is the nature and seriousness of the danger to any person in the community that would be posed

by the release. When you are talking about this kind of drug offense with a firearm involved, that is

substantial danger.

   Considering all those factors together, you will remain detained.




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